Case 3:17-cv-00072-NKM-JCH Document 647 Filed 02/10/20 Page 1 of 5 Pageid#: 8561
                                                           el-EMA sOFFICE t).s. DlsT.COURT
                                                                 TCHARLOU ESVILE,VA
                                                                                       FILED
                       IN THE UNITED STATESDISTRICT COURT                        FEB 12 2222
                           FOR THE W ESTERN DISTRICT OF
                                                                          BYJU     .D                      e
                                                                                                           z
                                                                                               ,   CLERK
                            VIRGINIA Charlottesville Division               ;      .. '
                                                                                    u      L K

ELIZABETH SINES,etal,
           Plaintiff,


                                          CivilAction No.3:17-cv-00072-         -JCH


 JASON KESSLER,etal,
           Defendant.


             M OTION TO OUASH SUBPONEA TO PRODUCE DOCUM KNTS

       DeniseY.Lunsford,EsquireCtunsford'')requeststhatthiscourtissueanorderquashing
 theSubpoenaDucesTecum (theGçsubpoena'')servedonherbyElizabeth Sines,eta1.(IûSines'')on
 January 28th 2020.

                                 G R O U ND S FO R R ELIE F

       The Subpoenacallsfortheproduction ofdocum entsand inform ation thatLunsford is

 precluded from producing becauséthe Subpoenarequiresdisclosure ofprivileged orother

 protected m atterwithin the m eaning ofRule 45 oftheFederalRulesofCivilProcedure,is

 privilegedorissubjecttoprotectionastrial-preparation materialwithinthemeaning ofRule
 26 ofthe FederalRulesofCivilProcedtlre,and whose dissem ination isgovem ed by Orders of

 the United StatesD istrictCourtfortheW estern D istrictofVirginia,the City ofCharlottesville

 CircuitCourtand an A greem entw ith the City ofCharlottesville Com m onwealth'sA ttom ey's

 Office.In supportofherM otiontoQuash,Lunsfordstatesasfollows:
              The Subpoena w as served on Ltm sford,who isthe courtappointed attorney forthe

 DefendantJnmesAlexFields,Jr(&1Fields''),onJanuary29,2020.AnidenticalSubpoenaDuces
 Tecum wasservedonLtmsford'sco-counsél,Jolm Hill,Esquire,(G&Hil1''),onJanuary28,2020.A

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Case 3:17-cv-00072-NKM-JCH Document 647 Filed 02/10/20 Page 2 of 5 Pageid#: 8562



tzueandcorrectcopy ofthesubpoenaservedonHillisattachedtoHill'sM otiontoQuash
 Subpoenafiledonthisdate(<çHill'sMotion'')asExhibit1.
               Lunsford represented Fieldsin a seriesofclim inalcasesoriginating in theCityof

 CharlottesvilleCircuitCourt(theRcriminalM atters'')andnow representsFieldsOntheappealof
 hisconviction in thosecasesto the Com monwea1th ofVirginiaCourtofAppeals.

        3.     Taken asawhole,thesubpoenarequiresthatLunsford producetheentire contents

 ofhertllesrelatingto representation ofFieldsin theCrim inalM atterswith no exception.Am ong

 otherthings,Lunsford'sfilescontain notes,mem oranda and otherdocumentsm em orializing

 confidentialdiscussionsand commllnicationswith Fields,co-counseland experts,docllments

 relatedtotrialstrategy,informationregardingjurorsandotherdocumentsandmaterialLunsfordis
 prollibited from disclosing.

        4.     Rule 1.6 ofthe Virgirlia StateBarProfessionalGuidelinesprohibitsalawyerfrom

 revealing informationprotected by the attom ey-clientprivilegeunderapplicablelaw orother

 information gained in theprofessionalrelationship thattheclienthasrequestedbeheld inviolateor

 thedisclosureofwhich would beem barrassing orwould belikely to bedetrim entaltotheclient

 unlesstheclientconsents.

        5.     Inform ation and materialprovided to Lunsford by the City ofCharlottesville

 Commonwealth'sAttorney Officein thecourseofherrepresentation ofFieldsin theCrim inal

 M attersisgovenzed by an Open FileAgreem entwhich prohibitsdisclosureoftheinform ation and

 m aterial. A trueand acctlratecopy oftheOpen File Agreembntisattached to Hill'sM otion as

 Exhibit3.

        6.     Inform ation provided toLtmsfordby theUnited Statesgovernmentin thecotlrseof

 herrepresentation ofFieldsin the Crim inalM attersisgoverned by an Orderofthe United States

 DistrictCourtfortheW esternDistrictofVirginiadatedFebruary23,20t8.A trueandacctlrate
                                                2
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 copy oftheOrderisattached to Hill'sM otion asExhibit4.

               Disseminationofinformationrelatingtojurorsandcertainphotographsandvideos
adm itted into evidencein thetrialoftheCrim inalM attersisprohibited by OrdersoftheCity of

 CharlottesvilleCircuitCourt.A tnze and accuratecopy oftheOrderisattachedto Hill'sM otion as

Exhibit5.

       8.      Sineshasnotesàblished asubstantialneed forthem aterialsand thatshecnnnot,

withouttmduehardship,obtain theirsubstantialequivalentby otherm eans.

       W HEREFORE,fortheforegoing reasons,Denise Y.Ltmsford,Esquire,requeststhatthis

 Courtissue an orderquashing theSubpoenaDucesTecum served on herby Elizabeth Sines,etal.

 on January 29,2020.

       Respectl lly subm itted this10thday ofFebruary 2020.



                                          DENISE Y.LUNSFORD,ESQUIRE
                                          Pro Se




DE SE Y. NSF               (VSB # 1833)
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                           CERTIFICA TE OF SERVICE

        Ihereby certify that on Febnzary 10,2020,Ipresented the forgoing to the
  Clerk ofthe Court for filing and uploading to the CM /ECF system ,which will
 thensend anotification ofsuch filing(NEF)to the following:

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Case 3:17-cv-00072-NKM-JCH Document 647 Filed 02/10/20 Page 5 of 5 Pageid#: 8565




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 D           for ,   r
                     /
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 Pr Se




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